Case 2:22-cv-00761-TS-JCB Document 55 Filed 01/03/24 PageID.604 Page 1 of 1




______________________________________________________________________________

                          UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH


IN RE SNAP FINANCE DATA BREACH                     Lead Case No. 2:22-cv-00761-TS-JCB
LITIGATION
                                                   ORDER GRANTING JOINT MOTION
                                                   TO APPEAR REMOTELY AT FINAL
                                                        APPROVAL HEARING

                                                           District Judge Ted Stewart

                                                       Magistrate Judge Jared C. Bennett


       Having reviewed the parties’ joint submission and good cause appearing, the Court hereby

ORDERS that the Joint Motion to Appear Remotely at Final Approval Hearing is GRANTED.

       IT IS HEREBY ORDERED that the parties are allowed to appear remotely at the Final

Approval Hearing on January 23, 2024.


DATED: January 3, 2024
                                                   BY THE COURT:

                                                   ____________________________
                                                   The Honorable Ted Stewart
                                                   United States District Court Judge
